723.101-99999-UNA Document 668-3 Filed 03/03/23 Page 1 of 1
Department of Hoftefintd Secu” Form 1-79 C, Notice of Action

U. S. Citizenship and Immigration Services

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BEN EFIT.

Receipt Number Case Type
SRCE2 103050569 [140 - IMMIGRANT PETITION FOR ALIEN WORKER
Received Date Prinvity Date Petitioner
10/30/2020 10/30/2020 MAR JAC POULTRY INC
Matice Date Pape Beneliciary A218 099 957
11/43/2020 fofd NGUYEN, NHAT CLONG
MAR JAC POULTRY INC Notice Type: Approval Notice
cio MAR JAC POULTRY INC Section: Other Workers, Sec.203(b)(3)(A\ Iii)
5195 JIMMY CARTER BLVD STE 102 Consulate:
NORCROSS GA 30093 ETA Case Number: A-19238-4939
SOC Code: 513022 Skill Level: |
Work Site: GAINESVILLE GA

We have mailed an official notice about this case (and any relevant documentation) according to the mailing preferences you chose on Form G-28, Notice
of Entry of Appearance as Atlorney or Accredited Representative. This is a courtesy copy, not the official notice.

What the Official Notice 5atd

The above pelilion has been approved. The petition indicates thal the person for whom you arc pelitioning is in the United States and will apply for
adjustment of status, He or she should coniact the local USCIS office to obtain Form [-485, Application to Register Permanent Residence or Adjust Status.
A copy of this notice should be submitted with the application, with appropriate fee, to this Service Center. Additional information about eligibility for
adjustment of status may be obtained from the local USCIS office serving the area where he or she lives, or by calling 1-800-375-5283.

Ifthe person for whom you are petitioning decides lo apply for a visa outside the United Slates based upon this petition, the petidener should file Form
1-824, Application for Action on an Approved Application or Petitian, to request that we send the petition to the Department of Staie National Visa Center
(NVC),

The NVC processes all approved immigrant visa petitions that require consular action. The NYC alsa determines which consular post is the appropriate
consulate to complete visa processing. It will then forward the approved petition to that consulate.

The approval of this visa petition does not in itself grant any immigration status and does not guarantee that the alien beneficiary will subsequently be found
to be eligible for a visa, for admission to the United States, or for an extension, change, or adjustment of status.

This courtesy copy may not be used in lieu of official notification to demonstrate the filing or processing action taken on this case.
THIS FORM IS NOT A VISA AND MAY NOT BE USED IN PLACE Of 4 VISA,

The Small Business Regulatory Enforcement and Fairness Act established the Olfice of the National Ontbudsman (ONO) af the Small Business
Administration. The ONO assists small businesses with issues related to federal regulations. If you are a small business wiih a comment or complaint about
regulatory enforcement, you may contact the ONO at www.sba.gov/ombudsman or phone 202-205-2417 of fax 202-481-5719.

commence 1 MOPTCH: Although this application or petition has been approved, USCIS and the U.S. Department of Homeland Securily reserve the right to verify this
ommmmencscss | information helore and/or after making a decision on your case so we can ensure that you have complied with applicable laws, rules, regulations, and other
legal authorities. We may review public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and
residences, or use other methods of verification, We will use the information obtained to determine whether you are eligible for the benefit you seek. 1f we
find any derogatory information, we will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if you
submitted one) an opportunity to address thal information before we make a formal decision on your case or slant proceedings.

Please see the additional information on the back. You will be notified separately abou( any other cases you filed,

Texas Service Center

U.S. CITIZENSHIP & IMMIGRATION SVC
6046 N Beli Line Rd., STE 110

Irving TX 75038-0012

USCIS Contact. Center: www.useis.gov/contactcenter

if this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form I-797C 04/01/19
